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     UNITED STATES OF AMERICA,                  CaseNo.: ,(_'   JJ'-   J()'f'J /'1
                      Plaintiff,
12                                              ORDER OF PRETRIAL
                v.                              DETENTION
13                                              (18 U.S.C. §§ 3142(e), (i))
14    !JMid WPee
             6efendant.
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16                                         I.
17   A.   (~    On motion of the Government in a case that involves:
18        1.    ( )   a crime of violence, a violation of 18 U.S.C. § 1591, or an
19                    offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a
20                    maximum term of imprisonment of ten years or more is
21                    prescribed.
22        2.    ( )   an offense for which the maximum sentence is life
23                    imprisonment or death.
24        3.    ( )   an offense for which a maximum term of imprisonment of ten
25                    years or more is prescribed in the Controlled Substances Act,
26                    the Controlled Substances Import and Export Act, or the
27                    Maritime Drug Law Enforcement Act.
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 1         4.    ( )      any felony if defendant has been convicted of two or more
 2                        offenses described above, two or more state or local offenses
 3                        that would have been offenses described above if a
 4                        circumstance giving rise to federal jurisdiction had existed, or a
 5                        combination of such offenses ..
 6         5.    c/J      any felony that is not otherwise a crime of violence that
 7                        involves a minor victim, or that involves possession or use of a
 8                        firearm or destructive device or any other dangerous weapon,
 9                        or that involves a failure to register under 18 U.S.C § 2250.
10   B.    On motion (      y   by the Government I ( ) of the Court sua sponte in a case
11         that involves:
12         1.    0{,.)    a serious risk defendant will flee.
13         2.    ( )      a serious risk defendant will:
14               a.       ( )      obstruct or attempt to obstruct justice.
15               b.       ( )      threaten, injure or intimidate a prospective witness or
16                                juror, or attempt to do so.
17   C.    The Government ( ) is I      (~is not entitled to a rebuttable presumption that
18         no condition or combination of conditions will reasonably assure
19         defendant's appearance as required and the safety or any person or the
20         community.
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22                                                II.
23         The Court finds that no condition or combination of conditions will
24   reasonably assure:
25   A.    CN    the appearance of defendant as required.
26   B.    (~    the safety of any person or the community.
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 1                                             III.
 2         The Court has considered:
 3   A.    the nature and circumstances of the offense(s) charged;
 4   B.    the weight of the evidence against defendant;
 5   C.    the history and characteristics of defendant; and
 6   D.    the nature and seriousness of the danger to any person or the community
 7         that would be posed by defendant's release.
 8                                             IV.
 9         The Court has considered all the evidence proffered and presented at the
10   hearing, the arguments and/or statements of counsel, and the Pretrial Services
11   Report and recommendation.
12                                             v.
13         The Court concludes:
14   A.    ({)    Defendant poses a serious flight risk based on:
15                C'(J   information in Pretrial Services Report and Recommendation
16                C¥)    other:   (D~le-..h- -t-
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19 B.      0{-)   Defendant poses a risk to the safety of other persons and the
20         community based on:
21                (~)    information in Pretrial Services Report and Recommendation
22                (~     other:   V'~lA..~11 t-
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25   C.    ( )    A serious risk exists that defendant will:
26         1.     ( ) obstruct or attempt to obstruct justice,
27         2.     ( ) threaten, injure, or intimidate a witness/juror, or attempt to do so,
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 1        basedon: _______________________________________________
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 5   D.   ( )   Defendant has not rebutted by sufficient evidence to the contrary the
 6              presumption provided in 18 U.S.C. § 3142(e) that no condition or
 7              combination of conditions will reasonably assure the appearance of
 8              defendant as required.
 9   E.   ( )   Defendant has not rebutted by sufficient evidence to the contrary the
10              presumption provided in 18 U.S.C. § 3142(e) that no condition or
11              combination of conditions will reasonably assure the safety of any
12              other person and the community.
13                                          VI.
14   A.   IT IS THEREFORE ORDERED that defendant be detained prior to trial.
15   B.   IT IS FURTHER ORDERED that defendant be committed to the custody of
16        the Attorney General for confinement in a corrections facility separate, to
17        the extent practicable, from persons awaiting or serving sentences or being
18        held in custody pending appeal.
19 C.     IT IS FURTHER ORDERED that defendant be afforded reasonable
20        opportunity for private consultation with counsel.
21   D.   IT IS FURTHER ORDERED that, on order of a Court ofthe United States
22        or on request of an attorney for the Government, the person in charge of the
23        corrections facility in which defendant is confined deliver defendant to a
          United States Marshal for the purpose of an appearance in connection with a
          court proceeding.




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